 

ILED

NOV 12 2621

     

EASTERN DIST CAL RT.

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

 

) . .
MIGUEL G. SIFUENTES  ) Case No. 1:16-cv-00241-DAD-GSA PC
Plaintiff, )
- ) REQUEST FOR 60 DAY
DR. OLA, et al., ) EXTENSION OF TIME TO
Defendants. ) FILE OPPOSITION TO
) DEFENDANT’S MOTION FOR
SUMMARY JUDGMENT

In 2015, Plaintiff, Miguel G. Sifuentes, filed a U.S.C. sec. 1983 civil rights petition. He
has been proceeding in his case, pro se, conducting all of the filings himself. Over the course of

the prior year and a half, this case and the relevant proceedings have been delayed on the court’s

docket by the worldwide COVID-19 pandemic.

Plaintiff received the court’s “Order Requiring Plaintiff to File Opposition or Statement
of Non-Opposition to Defendant’s Motion for Summary Judgment Within 30 Days” on October
' 6, 2021. Plaintiff does certainly oppose defendant’s motion for summary judgment and requests

a 60-day extension of time in order to now prepare the necessary filing with and/or through an

attorney. Plaintiff is working diligently to secure assistance given his current situation and

 
Case 1:16-cv-00241-DAD-GSA Document 59 Filed 11/12/21 Page 2 of 3

commitments. He has contacted several attorneys in this effort. One suffered a family emergency
late last week and cannot currently handle the case. The other, cannot do so at this time also
given the short time frame. Lastly, Plaintiff was locked down from October 29- November 3,

2021 and could not meet with or even call any attorney at all.

Over the course of the last year and a half, Plaintiff has continued to deal with the

| following:

- the “worst epidemiological disaster in California correctional history” and the
conditions of solitary confinement [tentative ruling by Judge Howard in Hall (Von
Staich), Marin County Superior Court], in which plaintiff was a testifying witness in
June of 2021

- having contracted COVID-19 with the constant risk of becoming re-infected in San
Quentin

- assisting with several filings in preparation for and in response to a hearing under
Senate Bill 1437 |

- the overall impacts of prolonged, multi-faceted stress

Over the last month, Plaintiff had not yet responded to defendant’s motion for summary
judgment as he was preparing intensely for a psychological evaluation by a state forensic
psychologist for a “Comprehensive Risk Assessment” interview the last week of September. The

subsequent report was completed on October 14, 2021 and is used by the Board of Parole
 

Case 1:16-cv-00241-DAD-GSA Document 59 Filed 11/12/21 Page 3 of 3

Hearings in order to determine the likelihood of future violence if paroled and suitability for
parole. In response, plaintiff is currently preparing for his December 28, 2021 hearing before the
Board of Parole Hearings at which his liberty is at stake.

For all of these reasons, Plaintiff respectfully requests the aforementioned 60-day
extension of time in order to comply with this court order and to file Plaintiff's opposition
motion.

Respectfully Submitted,

Mae G, faite.

Plaintiff.
